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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Aquileo Herrera individually and on behalf of
other employees similarly situated, Plaintiff
                                                                        Case No. 1:16-cv-06996
v.
                                                                 Hon. Judge John Robert Blakey
Marilyn’s, Inc. and Masood Ahmad,
individually, Defendants

                                STIPULATION TO DISMISS

       The Parties, through counsel, pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil

Procedure, state that the parties have agreed and stipulated to dismiss his action in its entirety

without prejudice and without costs or attorneys fees pursuant to settlement, except as otherwise

provided for by the parties’ agreement. On February 15, 2018, absent a motion by either party to

enforce the settlement agreement, the dismissal of this matter shall convert automatically to a

dismissal with prejudice.

Respectfully submitted,


s/ Valentin T. Narvaez                                                    s/ Burr E. Anderson
Consumer Law Group, LLC                                               Anderson Law Offices PC
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